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EXHIBIT A

EXHIBIT A
Lo

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oa

23

a4

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

CHRIS WERDEBAUGH, individually
and on behalf of others
similarly situated,
Plaintiff,
al oe CASE NUMBER
BLUE DIAMOND GROWERS, 4:12-cy-0274 LHE

Defendant.

VIDEOTAPED DEPOSITION GF CHRISTOPHER WERDEBAUGH
SAN FRANCISCO, CALIFORNIA
FRIDAY, FRBRUARY 7, #014

VOLUME I

REPORTED BY:
THOMAS J. FRASIE
BPR, CSR No. 6362

JOB No. 1800953

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1 OG. And what is it about evaporated cane jJulea that

2 raises questions in your mind?

3 AL I've never heard of it before and I'm assuming

4 chak it wes a natural juice that was extracted from the

5 almond, La we
6 o. And what was it shout potassium citrate that

7 Yalsed questions for you?

A A. If have no clue whak it ia, agrually, and I

a certainly didn't think it was an artificial ingredient

10 being that it wae all natural, labeled on Ehe front. 10:41:45
11 ©. We'll talk mere about those in a little hit.

Le ben me ask you, as you sit here -oday, do you Know

13 whether potassium citrate is an artificial or a natural

14 ingredient?

15 Bb. I do not. Os es 5
16 GQ. Have You ever done any type of research ta try

17? to figure out what potassium citrate ia?

148 A. Jo didn't, actually.

La O, And the same question with respect ta

20 evaporated cane juice, do you know aa you sit here today LOA 223
21 whether that's a natural ar an artificial ingredient?
22 Rey Ritter speaking with Pierce, I do know now that

aa it's the equivalent of table sugar. I did not know that

a4 when 1 wade the purchase.

25 ME, GORE: You understand, of course, Larry, ear ae at

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1 MR. GORE: I'd like to try to stay aff your
Z record to the maximum extent poasible, sa that's fair.
3 Thank you.
4 BY MRE. CIRELLI:
——
5 QO. Independent of any conversation with Pierce, 10:24:17
6 have you ever determined in any other way what
7 evaporated cané juice 1a?
6 A. He.
g GO. Haye you done any research regarding it?
1a A, Wone. 1G: 24:27
= =
11 age Tf the label on the Blue Diamond Almond Breeze
i that you bought said sugar instead of evaporated tans
13 juice, would you have bought it anyway?
i4 MR. GORE: Objection. Calls far speculation,
LS Assumes facta not in evidence. 10:24:43
16 You may anawer.
1? THE WITNESS: At the time, I had -- I Rad aot
14 realized that there was actually different -Lypes.
19 BY MR, CIRELLI:
20 QO. Different types of what? Os 24354
21 A. Of -- that you had just mentioned if there was
aa sugar or audarless.
=
a3 QO. Okay. But my question was if -- the Label on
a4 the Almond Breeze product that you bought, one of -Ehe
25 ingredients, ag I understand from your testimony, was 10:25:24
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1 avaporated cane juice; correct?
2 a... Gaaregh.
3 Oo, And the first time you ever bought that
4 Product, did you look ak the label and see that term,
5 Neyvaporated cane juice"? EQs25234
5 A. Yes, I did. I did turn it over and gee -that,
7 QO. And what tyme of cane did you understand that
a referred fa?
9 ME. GORE: Objection. Calls far speculaticn.
14 You May answer to the extent you know. Pr eoe52
La BY ME. CIRBEOLT:
12 O. At the time you read the label.
1 A. i had -- I had no clue, Co be honest, I'm nor
ia & chemist so £ didn't know.
LS QO. Bid you understand if ta be sugar cane? 10:26:06
16 A. Wo, Ll did not. £1
L? QO. Are you aware aS you S1t here today of any
18 eather kind of cane Ehat is used in the manufacture of
143 Food praducts?
20 AL Most packaging is labeled sugar that has it. 10:26:20
21 L'¥e never sean that term hetore.
22 Q. Can you think of any other cype of cane that
23 YOU'VE Ever seen in any food product other than sugar
ad cane?
25 A. Wa. LOGS
Paqe 35

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1 Q, I was just asking you what your definition af

2 "healthy" is, aS Yau are using it, and you just

a described it, and part and my gquestian was whether there

4 was anything else that you consider when you're thinking

4 of samething as being healthy. 10:29:37
6 A. it would not cantain sugar and artificial

7 ingredients, I'd leaok out for these things for my

3 children mostly.

a Oo. 8nd other than no sugar and na artificial

14 ingredients, is there anything elaée that you look oe 10;230;01
Li for for your children with respect to looking for

12 products as being healthy?
13 A. Being matural is most -- ag this one's claiming
14 ae well,
15 GQ. Anything else? Ths Poe TS
i6 A, That's it.

=

Lv Oo, De you ever buy products that den't have

18 fnatural” on the label?

is Ac: BH
20 QO. Oo you ever buy preducts thah are not natural? 20:30:24
al A. Mot natural? Probably, yes.
ae Oo. De you ever buy products with sugar in them?
aa Ae Yes,

24 GO. Do you ever buy products with artificial
25 Ligredients in them? E0U;30:38
Page 4

 

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1 AL Yes.
2 GO. Wow, your aktorney brought with him a package
a of Blue Diamond Chocolate Alwond Breese; correct?
4 A. Correck.
5 GO. Did you buy this package of Breese? 1:31:02
& A. Wo,
7 oO. Do you know who did? |
d A. Pierce did.
g ©. I believe that I have -- and Pierce can correct
1a ma LE E'm wrong. I don't think we want to mark that and LOSS Leo
1.4. | atbkach it to the deposition. It would be hard to staple
12 | it.
|
13 | MR. GORE: We. We breught it sclely as 2 |
14 visual aid.
5 MR. CIRELLI: Why den't we -- I'm dene with 10:31:44
16 thig ane.
1T Why don't we go ahead and wark thiga as the
19 first in order.
1s (Deposition Bxhibit 1 was marked
20 for identification.) LO: S222
ek BY MR. CIRELLI:
22 Oo. 2 will represent to you, Mr. Werdebaugh, that
an what has just been marked aa Exhibit 1 are documents
24 that Have been produced in this Litigation on your
25 behalf by your atterney. 1Gfs2 651
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L A. Okay.

2 Gg. Do you recognize these documents?

a A. Yes,

4 QO. And you'll see that there's numbers on the

5 battem, they say CW and then a number? 10:33:06
6 A. Carrect.

7 Q. Soa iseking at CW 1 through 2, can you tell me

8 what that ia?

o A. CW 2 is the front of the packaging, CW 2 is the

16 back of the packaging, CW 3 ia the side of the LO:33 224
11 packaging.

i2 ©. And is thia the Efrent, back and side of the

$3 packaging for the Almond Breeze product that you have

i4 Purchased in the past and that -his lawsuit is about?

15 A. Yes, it is. 10:33:38
16 O. The Chocolate Almond Breeze product?

1? A. Yes, it is.

:

Lé OG. And as I underatand it, you -- the only Almond

15 Breese product flavor that you've ever purchased ia

20 chocolate; is that correct? 0 Se oe
21 A. Yes.

23 G@. re you aware that there is an unsweetened
23 version of thia milk on the market?
a4 A. Wo, I was nok.
a5 QQ. When you say you were not, does that mean you Lo:34:00
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were mot

at the tame that you bought the Almond Breeze

 

 

 

2 product?
= A. At the time, mo. I hened in on this one anly.
4 0. When you say you honed inte thia one only, what
5 do you mean? 10:34:19
6 A. Hs a consumer, I stood at the shelf and saw
7 this packaging and picked it up, read the labels, and
a tlade the purchade.
q Q. Was this in the refrigerated section or on a
10 shelf? 10:34:42
11 A. IE was on e shelf.
l2 QO. Have you ever brought -- bought Almond Breeze
L3 that's refrigerated?
14 A. Ho, I only Beught thie.
15 Oo, And at the time that you firert baught the 10:34:55
16 Almend Breeze product, were you then concerned
Ey about health issues as you've described earlier,
18 that -- focusing on no sugar, no artificial ingredients,
18 and that the product be natural?
20 Bes I mean, I was unfamiliar with the product, ao 10:35:21
#1 as the first time, the "all natural” label atoad out ta
ne mé when I firat approached the product, and I turned it
23 ever and saw the ingredient list that we described
za hefore .
25 @. So the first time you bought it, you turned the LO ;35 238
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1 package -- you first saw the front of the package?

2 A. I firet saw the "all natural" label is what

a BEood Our To me,

4 Oo. And then you picked up the package?

5 A, .Picked it agp. 10:35:54

6 O. And yeu say you turned it over?

a A. Turned it over.

a QO. <And did you look at the page that is marked

9 CW 2 in Exhibit 1?

10 A. Wa, I went straight to CW 3, which is the side 10:36:05

Ta of the package.

LZ @. Bid you leok on the shelf ta see if there wae

13 an unsweetened version of the product?

14 A. Gid not,

18 Oo. When was the first time you came to learn that Ld:36:49

16 there was an unsweetened version of the product?

17 A. «Just recent visits ta the store. I was

1a Surprised to see it.

19 a. When you say "recent," when was the first tame

20 that you saw unsweetened Almond Breeze on the shelf? 10:36:32

21 A. I would say probably three months ago I paid

22 attention to it, in passing.

23 @. That's the first -ime you saw an unsweetened

24 Almond Breeze product on the shelf?

25 A. From what I can recall, yes. IO SSeee 8
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1 a. Did vou buy it?

a A. No, IL haye net purchased any.

3 OQ. Sea you looked, you saw the front of the package

€ which if CW 1 o£ Exhibit 1; ¢erreéct?

5 A. Correctr, LO:37:04

6 O. And then you immediately looked at the side of

Kd the package which is CW 3 in Exhibit 1?

8 | A. Correct.

3 | Oo. And let me ask you, these three pages, are

i
19 these accurahe caples of the label that you saw when you LOva7 +16
i

11 | bought the Almond Breeze chocalate milk product?

lz Aa Yes

3 GQ. And at the time that you first purchased the

14 product, did you alsa look at the panel that if marked

a ag CW 2? LOS

16 MR, GORE: Objection. Asked and answered.

1? ¥You can answer that again.

14 THE WITNESS: Ak the time of purchase, I do

19 nok think I actually looked at CW 2. IT actually went

20 atraight from "all natural" on CW 1 to -Ehe CW 3 EO Sn Sa

21, ingredients list.

a2 BY MR. CIRELLI:

23 Oo. And why did vou do that?

24 A. I just wanted ta see if it was an all natural

25 elaim and to see if there was anything that stead our te tO:38:09
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12

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tle because I was going to make this purchase for my

 

ehildren.
aT.
QO. Have you ever looked ak the panel on the
package that is marked as CW 2?
A. Wo, actually. 10:38:46

Oo. You've never seen that?
A. Well, I've never really looked at it.
Qo. Did you understand at the time you first bought
the Blue Diamond Almond Breeze almondmiik product that
it was all natural with added vitamins and minerals? 10:38:56

A. Heo.

 

 

Q. Have you ever come to learn that it was -- that
it had added minerals and vitamins?
A. Wo, I] have not. I focused in on the "all
natural," 10:39:16
@. Is the fact that a product has vitamine and
minerals added to it a positive for you in purchasing
Products for your familly?
A Les
G. So if you had seen on the label that it had 10:39:35
added vitamins and minerals, that's not gomething that
would have stopped you frem buying the preduct; is that
fair?
AL Yes, it would not have etoepped me.
@. And you said you immediately went to look at 10:49:46
Pege 44

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z I did make the purchage,

2 ME; GORE: Larry, We've been golng a little

2 while. Can we take a restroom break, please?

4 MR. CIRELLI: Sure, Let me ask just one more

5 question, 10:41:25

6 So O6ne of the concerns that you had -- may have

a several questions -- one of the concerns that you had

a was whether or not there was sugar in the preduct;

9 correct?

10 THE WITNESS: Correek. La At ea

11 BY MER. CIRELLI:

12 G. 80 when you locked at thia label, did you see

13 up at the top that it shows "sugars, 20 grams"?

14 A. I can see that, yes.

15 &, And you saw that at the time you bought the FOst1335

16 praduct ?

L? A. I doen't recall locking at that portion at the

er time, but L probably -- probably did scan it.

19 G. And séeing that there were 20 grams of sugara

20 in the product, that didn't stop you from buying the 10:41:46

21. Product; correct?

22 A. It did not, because I'm mot sure if that's an

23 actual equeezed element of an almond that naturally

a4 ococurs aor noc.

BF @. And you drank the milk when you bought it; 1O:41:57
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1 correcth --

Z A. I did, yes.

3 is -- the almondmilk?

4 A. Yes, I did try it.

5 MR. CIRELLE: Sorry. That time I jumped betore 1¢6:42:06
6 You were done.
7 Let's go ahead and take a break.

2 THE VIDEOGRAPHER: We are off the record at

9 10:41 a.m.

1a {Recess held. } 10:42:36
ii THE VIDEOGRAPHER: We're back on the record at
12 11:60 a.m.
13 BY MR. CIRELLI:
14 QO. Eight before we took our preak, we were looking
a5 at Exhibit 1 Gf the deposition and, in particular, we 11:91:15
16 were looking at the page OW 3, at the bottom, the third

page, and we were talking about your having read the

14 thie panel and things that were ef concern to you when
is you read it. Doe you remember that?
at AY ¥ees. Jats as
21 Q. And did you read the entirety of the
ag ingredients section that's on this panel when you first

an bought the produce?

24 A. if scanned it quickly, yee.

24 Oo. And waa there anything elae in reading that 11:01:44

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~J

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Arh

14

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Ln

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18

19

20

él

2a

24

that concerned you ather than what we've alresdy talked
about?

A. Evaporated cane Juice and potassium citrate
stood ocuk toa me.

QO. Anything else?

A. a,

Q. And we already talked about why potassium
Citrate and evaporated cane juice stead souk te you;
Fight?

Ae ER

4. You s@e next, after evaporated cane juice, it
saye "cocoa (Dutch process] "?

BR. Correct, I see it.

Q. Do you know what "Dutch process" is?

BR. Ide net.

Qo. That didn't cancern you?

A. The "all natural" label waa a aubstantial.
reason why I bought this praduct and I relied on that.
So the Ewo that we were discussing staod aut, but I
assumed that they were all natural.

O. Next 18 calcium carbonate; do you knew whak
thak is?

A, Mo, I do not,

Oo. ‘Then next ig séa salt; T'm assuming you know

what that is.

i OL: 55

TT:02:06

LEP he eat

11:02:44

Tae Fae

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Aa.

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A.

oD.

Yes.

And you saw that and it didn't ¢ontcern you that

this contains S68 salt; is that correct?

A.

oO.

Correct.

It didn't concern to you that it contained

calcium carbonate either?

A.
Gi
A.
Qo.
that you
A.
a.
referred
A.
Q.
A.
natural,

o.

Q.

I don't know what that is, actually. Sorry.
Do you know what carrageenan is?

No.

Bid that -- did it concern you that the product

were buying contained carrageenan?

Wo, it did not stand out at that time.

Da you know what "natural flavers" are heing
toa in the ingredienta?

No. I'm assuming chocolate.

Do you know what sunflower lecithin is?

Wo, I da not, juan assumed that it was all

Oo you know what Vitamin A palmitate is?
I do ner.

Did it concern you that the product you were

purchasing contained Vitamin A palmitate when you

purchased it?

A.

oO.

It did not at the time,

Does it now?

Lie OS res

LAAs

Lat
bo

Li:024:49

La 4S

11:04:24

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‘ A, F don't know what -- I mean, I'm assuming

2 they're 2 HeREEeLAT vilEamin, but I den'® Know,

3 is So it doesn't concern you ada you sit here

4 Fight now?

5 A, Exactiy, 11:04:34
6 Oo, What abouk Vitamin D2; did it concern you when

7 you purchased this Almond Breeze product that the

B Product centained Vitamin Da?

a Pi. Na,
LG Go. What about D-alpha tecepherol; did it cancern 11:04:49
Lil you when you purchased this product that Ehis praduct
a2 contained D-alpha cacopherol?
a3 A. No, just stating it's @ natural Vitamin BE,
ta Gg. Gbher Ehan stating it's a natural Vitamin E,
a5 did you know when you bought it what it was? 1i:05:07
LG A. Nea, TF did nat.
1? Q, Did you see "natural Vitamin E" on the package
18 when you first bough this?
“go AL Yes.
Po @. Other than the ingredients that we just went Leto ds
21 through, was there anything else about this page of the
22 Almond Breeze package that ceancerned you when you
Ba purchased it?
24 A. Wo, Just the front, "all natural," and the sidé
Zo Panel which state -- shows ingredients that I was LES eat

Faqge St

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1 QO, Earlier, when I asked you what doea "healthy"

2 ean to you, you told me it wag no sugar, no artificial

a ingredients, and natural, remember that?

4 A. Yes.

SS

5 0. And using that phrase there, "natural," what 11:08:36
6 does the phrase -- that term mean to you?

7 MR. GORE: Objection. Asked and answered.

a You may answer it aqain.

a THE WITNESS: Natural would be, being that this

a l# an almond product, I would imagine "natural" is Pees
Bil coming atraight from the tree and squeezed. Aqain, this
12 if a new product to me, eo I'm trusting the "all
13 natural" label, and that's it. “Ail natural" means
14 comes right from where it grows into the packaging.

a a a

5 BY WR. CIRELLI: aL. ake
14 O. But when you read the packaging, in particular

LA page CW 03 of Exhibit 1, in reading the ingredients,

15 didn't you underatand that, in fack, ib was not from the

14 tree aqueezed and put directly into the package but that

20 things were added ta it? 11:09:44 |
21 MR. GORE: Objection, Argumentative. Calls
22 for speculation. Assumes facts nok in evidence.
eas You may answer.
24 THE WITNBSS: Yeah. I'm not a -- F'm nat 2
oo chemist or a food mutritionist. I'm net sure of the TETOSESS

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1 Process of getting it in there. I just rely solely on
2 the packaging in the front, telling me it's all natural,
3 and I should trust that -
4 BY MR. CIRELLI:
ty Go. Apart from the definition you just gave me from Lislo:L2
6 what you understood the almondmilk to be, what is your
7 definition of "natural" generally, as if applies in
2 general terms?
a Mm. GORE: Objection. Aaked and answered at
10 least twice, 11:10;22
Ld You can anawer it again,
12 MR. CIRELLI: JI honestly don't think I have,
Ts Pierce, but if EF did, I apologize.
14 MR. GORE: I'm allowing you to angewer.
TS THE WITNESS: That it comes naturally Erom TL 31029
16 the earth, and what's in it, even if there's mixed
1? ingredients or natural aa well, they come from the
14 sae -- game way, it's nothing artificial.
is BY MR, CIRELLI:
20 QO. Anything else? L1:10;52
21 A. Ne.
Be Q. Bo you ever buy @raganic products?
23 A yes,
24 0. How often do you buy organic products?
25 A. AS much ae I can, very often, EPP LEEOT
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aL. a. When you say ae much as you can, what da you
2 mean?
ie A. When it's offered at the place that I'm
4 purchasing it, I mean
S QO. How often do you buy natural producta? TEtLicls
|
6 A. Same, as mich ag they're offered, I trey ta,
i] a |
7 | O. What is Ehe definition of "organic" to yout |
8 | A. That there is no chemicals used in the process |
| |
9 | ef trying to keep bugs from eating the products or -- |
19 | badically juet tella me that there's no chemicala on the Dl diese
1) products so when I bring it inte the house, it's a good
12 product for my kida, it's a healthy product.
LS oO. Do you understand that in addition to there
14 being no chemicals in the preduct, thak it's also a
a natural product to begin with? Vie Le oF
16 AL Yes.
a i ccc eas
1? QO. Would you agree with me that everything that is
14 earganic is also natural?
1s MR. GORE: Objection. Calls for speculation,
20 Calls for an expert opinion. 11:12:22
21 You may answer to the extent you know.
ee THE WITMESS: Yeah, EF don't -- I'm nor
fa qualified to answer that, actually.
24 BY ME. CIRELLI:
By Oo. i'm not asking for an expert or a scientific Pie kes
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ra)

7?

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Ls

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20

al

me

ne)

24

25

opinion. Based an your use of the terms "organic" and
"nakural," do you believe that everything that is
erganic is alaco natural?
MR. GORE; Same objection.
¥oul May answer. Ele lLes a2
THE WITNESS: The way I look at producers, I
would say yes.
BY Hk, CIRELLI:
QO, booking at -- agoing back to Exhibit 1, a@tarting
at the page that is Bates-stamped CW 4 through CW 10, dea LSS
You recognize the documents an those pages?
BRB. Yes, I do.
Oo. Whet are these documents that are on pages CW 4
through 10 on Exhibit 1?
A. These are a collection of receipts of our aL Las
grocery purchases,
Oo. Why did you provide these receipts as opposed
to others, what caused you to pick these?
A. These a are series, every time we would go ta a
store, I would throw it in a shoebox. 11:14:04
QO, Why do you, every Eime you go to a Store, Ehrow
the receipts inte a shoebox?
ME, GORE: Objection only to the extent that
the question calls for communications protected by the
atborney-clienk privilege. Leaves

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sera
1 You can tell barry why you were keeping the
2 receipts but, again, I'll caution you, he doesn’t want
4 you ta tell him about our communication. Do you
4 understand the difference?
5 THE WITNESS: I understand. Li:i4:a4
5 MR. GORE: Okay.
7 MR. CIRELLI: Well, © want to but I can't.
8 MR. GORE: That's fair. Thank you.
g THE WITHWESS: Wo. I wad asked to collect these
Le for the purpose of thia. Lh:14:43
Ll HY MR. CIRELLI:
ia ao, Yau were asked to collect these for the purpose
13 of this lawsuit?
44 A, This is -- yes.
SES —Sa—EE— =
is O. 2 think you just answered my néxt question but Laas 62
1é I'll ask it anyway. When did you first atart collecting
17 receipts and putting them in that shoebax?
14 A. I «ould only assume after May 2latr.
is OQ. May 2let, 2012?
ag A. Yeah, I think that -- I think that -- I recall 11:15:15
21 that that's the date.
Ez QO. So before you mek with Pierce, you didn't keep
aa receipts fer the -- fer your grocery purchases?
24 A. Actually, I did, actually, I deo.
5 6. When did you first start keeping receipts for Pisiss23
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oh Your grocery purchases?

a A. Io don't knew. [t's just a habit my wife and I

3 have done.

4 Oo. In relation toe May 21st, 2012, how long before

5 that had you kept receipts? Tiel S42

6 A&A. I doen't know, It'a == it's not an exact

7 science, It wag just a habit we did, we just keep tem.

8 Q. Do you try te keep ‘em all?

9g A. Yeah.

a) G. Whether they were paid for cash or ¢redit card? 11:15:56

14 A, It was based on -- it was more budgetary baaed

12 an, yea.

ae | QO. 58o you still have those receipts going back Es

14 betore May 2lat, 20912?

15 A. Ha. A262 10

16 Qa. Why not?

et A, I focused on the onea that weré netesasary at

18 that time.

VS G,. What do you mean by that?

20 A. IL cleared everything out and made room for the 12:16:20

21 ones Ehat -- for this, specific reason for this.

22 Q. When you say "Ear this," you méan for the

23 lawauLt?

a4 A. For the lawsuit, yea.

245 O. How far back did you have grocery receipksa when 1 elas
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1G

 

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La

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21

a

23

24

25

Oo. So I'm assuming that what I have here,
Exhibit CW 4 through 10, are not all receipts for all
groceries and restaurant visits, Lk would appear, that
you have gone to or purchased since filing this lawsuit;
ie that correct? dae aa
A. Gince filing the lawsuit? Ne.
QO. Why did you pick these particular receipts on
CW 4 through 10 in Exhibit 1 to produce in the suit?
A. These receipte here were not handpicked, they
were actually what was thrown in the box when we were 11:16:46

asked to collect and handed over when asked to hand

 

over,
0. When was that?
A. I tan'"t recall the dates.
0. Do you recall what year it waa? Lees
A. 2012, I'd imagine. It says -- it shauld say it

clearly an the receipta.
O. To he fair, looking at them, it looks like the

receipts are for 2013, at least the first one I Locked

at. - 11:19:18
A. I'm nok daure the series of ... I don't know,

I tan't recall. I think there was a seriea of twa times

that I may have turned ‘am in. I'm net sure, I doen't

keep record of these here on ... '

Oo. Are you still keeping your receipts for grocery LLitgyay

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Purchases today?
A. Probably, yeah.
Q. Well, when you say "probably" --
A, I do, Ido, I Keep ‘em -- yea, I keep ‘em in
the drawer. TLE SSF
0. And how far back do the receipts go that are in
the drawer teday?
A. Wea just cleaned ‘em out the end oF the wmanth.
Ido the finances, so I just check everything and
according to an online account and throw ‘em away, so eS
I'd imagine the beginning of -- the last of the menth,

they're gone.

 

O. Since learning from your Lawyers that
evaporated cane juice, I think you sald is table sugar;
eorrece? 11:20:45
AS Connects
G. Since learning that, have you paid particular
aktention ta the products that you buy bo make sure Ehat
they don't contain evaporated cane juice?
A. AS much ad possible. 11:20:53
GO. Have you bought any products that you're aware
ef that de contain evaporated cane juice?
A. Yes, on the premise that I know that it is
gonna be sugar inside it.

GO. What products have you bought since léarning 11,2107

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ee

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os

that evaporated cane juice, according te your lawyers is
table sugary, thak contain evaporated cane juice?

MR. GORE: Objection. Calla for speculation.

You can testify to -Ehe extent you know,

THE WITHESS: Yeah, I don't actually recall Lise es
apecific products in general on thac.
BY MR. CIRELLI:

Oo. Okay. Do you have any idea of any products

that you've bought since first learning, at least from
your lawyers that evaporated cane juice is table sugar, 11:21:44

whak praducts you've bought that contain evaporated cane

tuicet
A. I don't know specific products, I do know that
I have come across ik. It seeme like it's a new way of
labeling and hiding sugar, bub I don't .., So L'm more qi:22;00

aware of it now in the actual added sugar content versus

a Ehing of ice cream Chat's simpiy labeled sugar.
Oo. When yau aay you've come across it, how have

YOU CONG across evaporated cane juice as an ingredient

in products? La ess a
A. The same exact way, when I'm in the store J can

gee it on the ingredienta list.
Oo. And have you bought any products that you saw

at} the store with evaporated cane juice on its

ingredients list since filing this lawsuit? LD Sa232

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1 A. Yes, I would imagine ec.
a QO. And what products do -- do vou recall --
ri BR. I den't.
4 GO. -- any other praducts that you houghk --
= A, I don't. Ale aeieas
6 G. You need ta let me finisn. That's akay.
t fe you recall any of the products you've bought
a that have evaporated cane juice as an ingredient on its
9 label since filing thia lawsuit in May of 2012?
10 | A. I do -- I do nox. 12:22:52
Ti. | G, When you say that you're sure you have, is that
|
12 | because the fact that certain products contain
13 | evaporated cane juice doesn't concern you?
|
14: | A. It concerns me, but I'm now educated enough ta
LS: | know that it's the equivalent of table sugar. $0 when I Tez eeat
i
16 | purchased this product om an atl natural basis, I gave
aap it ko my chiidren and they reacked an 4 sugar high, and
15 I was unprepared for that. But now, when I da make
13 purchases, J can see that it's a naw way to label sugar
au) eon packaging, so I'm aware cE it now on my future a Soe ed
Ba: purchases from thia time.
BE O. Bnd so the fact that it's labeled as evaporated
23 cane juice no longer cancerns you and, in turn, you ga
24 ahead and buy oraducts with that as an ingredient;
a5 sorrecty 11:23:48
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L MR. GORE: I'm going to get some coffee, You

4 don't need to stop for me,

iz BY MER. CEREGLI:

4 O. Gkhay. And I think I know the answer to this

5 but E'll ask it anyway, just to make sure. And you have PLigoi5o
6 nok bought any other Blue Bianend Almond Ereeze

7 almondmilk product since before May 21st, 2012, when

a you first met with the lawyers?

9 BA. Wo, I have never -- I've net purchased any.
14 Oo. Why not? PiLa2Ps15
aL. A. Eecause I feel like they lied ta me, actually,
12 on the -- on the marketing of the product, and that's
13 being deceived in purchasing it so I don't support

14 companies that da that.

15 o Tt'a not because you didn't like the flavor; Lie2¥ 735
16 eorreck?
17 A. The flavor wae fine, actually, the flavor waa

148 bine,

19 Oo. Is the only reason that you have not purchased
20 the Blue Diamond almondmilk since May 21st, 2012, the Ta 24s
al fact that you feel you were deceived by the labeling,

aa natural and @vaporated cane juice?

23 A. And potassium citrate, yes.
24 Oo. <Any other reason?
25 A. I just want toa feel confident as a consumer in 11:26:05

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cs = See es

 

 

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1 Buying things that I ean trust things Like that on a

2 quick look on the shelf and qq from there and feel

4 comfortable.

4 Oo. Anykhaing else?

= Avs Ma, Lee eg

6 QO. <At the time you first met with Mr. Gore, did

7 you have any Almond Breeze at your house?

a Ay FSR.

9 Oo, Did you finish it, did you drink it?

Lo A. Wo, Actually, I poured it dawn the drain, Lise s25

11 aq, How many cartons of Almond Breage did you have

12 ah your houge at the time thar you first met Mr. Gore on

13 May 2@lat, 20127

14 A. I believe it was two packages I recall dumping.

15 a, Two full packages? 11:28:40

16 A. Two full packages, unopened.

17 OQ. And the ressan you dumped them down the drain

148 is the xveagan you just described to us about the

Lo labeling?

20 A. The labeling, yes, and the fact that my kids P1223: +06

al Furl rampart on it.

22 Oo. Or how Weny Occasions prior to May Zlst, 2012,

ae had you hought Blue Diamend Almond Breeze milk?

24 A I actually bought four packages, I do remember,

2% and the two Chat were dumped were fram that sertes of Lis29:49
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1 four, S30 we consumed two, two packages.
2 a. So prior to May @lat, 2012, in total you had
3 bought four packages of Blue Diamond Almond Breeze
4 almondmilk?
5 A. Yes, chocolate. 11:30:14
6 O. Chocolate. You had never bought it before
u Lhen?
a A, Never,
9 Q@. And I think you said you bought all feur
10 packages at ene time? Ji: a0:22
1 mA. Gmne time.
=
iz Oo. And you consumed two of them?
La A. Two were consumed.
i4 Q. And two, you poured down the drain after you |
15 met with Mr. Gore? 11:30:38 |
6 A. COrEeacte
1? QO. When did you buy these four packages of Almand |
ia Breeze choeslate milk? |
|
13 A. Aqain, I think it was a month previous ta that, |
20 bo actually meeting, 11:30:53 |
2a: QO. Sea it would have been sometime in April of
Ze a Ole
23 A. I'm gueseing.
| Q. Had you ever bought any kind of almondmilk
a5 before April ef 20127 Lis Bees
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BR. We, this was a tirst time for me. That's why i

 

 

 

 

2 puk a lor ef trust in the label.

a Q. What was it that caused you te buy almond milk

4 ac that Point in time, April 20127

5 A, I was hoping ta Find an alternative for my kids Li:31:46

6 aS @ Ereat versus dumping Hershey's syrup in the milk,

7 and if turns out toa be pretty much similar to that, soa f

a just simply wanted a healthy alternative.

3 O. 80 before you bought the almondmilk you would,

10 aS @ treat for the kids, put Hershey's syrup in regular Li:32:08

11 mai Lig?

1 A. Wa, I'm saying as an albernative ta not do sa;

13 otherwise, my children drank white dairy milk solely.

14 Oo. At any point in time did you put Hershey's

15 syrup in milk for your kids before April of 20127 Lees as

16 A. Wet at all. My wife would not allow ther.

LF Oo. fa why did vou give me that one as an example?

18 A. 'Cug it's the only thing I could think of right

13 now, Ae a kid, I drank plenty cf Hershey's chocolate

20 milk and that was how I related it when I saw chac. TAs 3238

21 QO. Have you found an albernative to the Almand

22 Breeze chocolate milk since stopping buying it in April

ag of 2b?

24 A. No, 1 have net. T'we reverted back ta white

as dairy milk. Tes
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18

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Go. .[ think | know the anewer bur T'll ask it:

Since you stopped buying Blue Diamond Almond Breeze

aAlmondmilk, have you Hhought any ether brand of

almondmilk?
A, Na, Lies
GO. Have you at any point in time bought any brand

of goy mille?

AL Hmm, I don't recall, no.
oO. How about rice milk?
A. No, I don't even know what that is, 112332346

a, So the only time that you'ye ever bought an
almondmilk product was the four packages that you bought
sometime around April cf 20127
Aw: THSt s fair, ess
Q@. Going back ta Exhibit 1, which is the labels LLia3si56
and the receipts we were just talking about, lacking at
Bates number CW $, vou see the receipt in the middle,

Lunardi's?

A Yes,

GQ. And it leoks like it's a rereipt for grocery 1d ee 28
items that were purchased on November 21st, 2012, De
you see that?

AL I don’t see the date,

OG. You sé@e@ where ib says Visa and it's got the
number blocked oul? 1li:34:44

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A. Gh, yes.
Oo. Then if you go dewn to the fourth line under
Visa, it says November 21st, 2014?

A Correct.

oO. And this is among the receipts that you kept P1342 53
Erom groceries that you bought in -- during this time
period?

A. What time period? I'm sorry.

G. The time period you were keeping the receipts

 

For the lawyers? Li:25:08
A. From what I can recall, yes. I gathered them
tegether and handed "em over.
Oo. And if you go down the receipt, you see that
there's varioua categories, bakery bread, beer, dairy,
frozen Fooda. Oo you aee a those? 11:35:23
A. ‘Yea.
O. And you see there's a category at the bottom of
the receipt that says "Grocery"?
A. Yes.
Oo. And if you qo halfway down the middie of that, 11:35:29
do you aee there that it says "BD Breeze Chocolate
2 @ $3.29" each for $6.58, da you see that?
A. Yes. This actually might be the label that I
turned over from my packaging.
GO. Sa is "BD Breéze Chocolate," ia thar Blue LSS So
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Diamond Almond Breeze checoelake milk?
Fa. Yeo.
QO. |And now, seeing this, does it refresh your
memory that in November af 2012 you bought two packages
Of Blue Diamond Almond Breeze choecalate milk? LL eee Ree
A, It does not bring a memory, na,
QO. Well, now, seming this receipt, doa you have any
veason to believe chat you didn't buy it?
A, No, I don't have a reason to believe I didn't,
no. Ll i2br25
@. Is it pessible that your wife bought it?
A. It is quite possible, yes.
Oo. Do you know one way or the other whether you
er your family drank the Blue Diamond Almend Breeze
cheeotate milk that was purchased on November 21st, La ee Ss
2012?
A. Mo, I do not, And looking at at, I'm -- I
don't know. Wo, I definitely do not recall that.
Oo. Bo you recall pouring dawn the drain oF
throwing away any almond -- Blue Diamond Almond Ereeze he eS
chocolate milk tn Nevember of 20127
A. The dates -- I recall dumping two packages and
Io don't recall the dates, thet's the problem.
QO. Well, the two packages thak you deacribed
dumping, you told us you dumped right after you mét with Lies hea

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a4

25

Mr. Gore in May of 2012; correct?

AY Yee.

O. S80 apart from dumping the two packages right

after you tet with Mr. Gore in May of 29012, do you

remember dumping two more packages in November of 20127

A. Wo, and I den't know if these were stored on my

shelf oer -- I doen't

know. I don't recall.

oO. Bo you have any reason to believe that these

two packages of Blue Diamond Almond Breeze checolate

milk that were bought in Nevember of 2012 were not drank

by your family?

Feu tS
since Cher.

a. And how is
Blue Diamend Almond
say "then," are you

A. Since May,

I know that they have not drank it

it that you know they haven't drank
Breeze milk since -- and when you
referring to May af 2612?

yes.

O. And what ia it that leade you to say that they

have mok frank it?

A. f Know that F hadn't made a direct purchase of

it. We have many social events and there's times that

my wife will get certain things for kids EF doen't knew,

and she may have purchased this for a birthday party,

I den't know. My daughter's birthday ia Navember 27th

sq I -- she could easily have done that. I have no

11:37:46

L1:38:06

11:38:23

11:38:45

41:38:54

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clue.
QO. 8o you doen't know as you sit here today what
happened with theae twa cartons af Blue Diamond Almend
Breeze chocolate milk that were kought in Navemher of
20127 La oe
AR. Yeah, I do not know,
Q@. If 18 possible that they were drank at a
birthday party?
A. -ocan only assume that. And my wife doesn't
have the extent of this cs#e sq if would be fair ta say Lio hree
that she may have purchased it for a birthday party.
o&. Do you know if your wife has purchased any Blue
Diamond Almond Breeze milk at any time since May af
2012, ather than what we see here on this receipt of
November 2ist, 2012? 11:39:48
A. Wa.
@. It's possible she may kave bought if ak other
times as well?
ME. GORE: Objection. Calla for apeculation,
Agsumes facks mok in evidence, ELS OS S6
You may answer .
THE WITNESS: I'm fairly certain that -- thae
she hasn't. Tt's not been on our shelves. And I make
most ef the purchases, except far special octasions like
parties and get-togethers. 11:40;08

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i BY MR, CIRELLI;

2 QO. Going back ta the one and anly Rime that you
3 Bought Blue Diamond Almond Breeze mill in ox around

4 April sf 2012, where did you bey ict

 

 

 

5 A. Whole Foods, 1li;40;41
6 OQ. Whole Foods where?
7 A. That would have -- I think on Bascom Avenue,
a Campbell.
a O. La that one of Ehe stores that you regularly
10 shop at? Lbrai:06
Li A. Tes,
Le Qo. Do you recall how much you paid per carton for
15 the Blue Diamond Almond Breeze at chet time?
14 A. I don't recall specifically but I'd imagine
LS three- to four-dollar range. 11;41;24
16 Go. Whelt leads you bo bélieve it was in the three-
1? to four-doeliar range?
15 A, You typically pay a premium ak Whote Faods on a
19 | praduct like that,
20° | Oo, hid you notice at the time that you bought it 11:41:46
21 whether there was any other almandmilk products on the
22 shelf?
a3 A. I didn't nakbice at the time, no,
2a G. Did you netice whether Whele Foods haa its own
25 almondmilk product? 11:41:58
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4, Just avoided it altegether since.

 

 

2 oO. Why?

3 KR. Because I den't know what's in the actual

4 praducks, I méan I don't know what ingredients they're

5 BPUEting in it. I just wanted an all natural praduct L1:44:02
6 just to give my kide. &o I'd imagine they were similar.

7 OQ. When you say avoid it, you mean almondmilk?

a A. Yes.

a QO. And when you say they're similar, you think all

La almondmilk products are similiar? 14329
11 MR. GORE: Objection, Calla for speculation

Le and an @xpert apinian, Buk yau can answer.

15 THE WITNESS: 1 --- sinee I doen't -- IT don's

1lé know. I don't purchase anything in that aisle. It's

15 mot like IT inspect it any mere, Lega ssid
16 BY HR. CIRELLI:

1? a. -£ think you already Lold me you haven't boughs

14 any almandmilk preduct na matter from what manufacturer

19 Since April of 20227
20) A. Correct - 11:43:46
Bi QO. The two packages that your family @i1d consume
22 of the Blue Dianond Almond Breeze milk that you boughr
23 in April of 2012, in how many sittings did it take toa
zd drink those?
25 A. . treated them as Like an after-school treat, 11:44:16

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—
ii s0 IT would say we -- we actually -- it waa hard ta

2 ackually complete the packaging before the expiration,

a I believe, onee it was opened, if I recall. 1 can't

4 really recall, but it waa -- sittings?

5 Probably seven sittings, maybe, maybe a week's 11:44:41
6 Este:

7 oO. Did you drink any af it?

a Ans “Fess

3 @. So it was you and your kids?
1] AL Yes. 11:44:55
ia Oo. All three of the kids?

Le Aa oa LL thee:

ree ee
1a a. And I think that you sald when you first gave
14 it to them, they got all hyped up; is that right?

15 A&A. That's correct. 12;45:09
16 GO. And despite the fact that they got all hyped
ay up, Fou gave it to them again another six times?

Eg A. Well, I gave them less quantity, actually. I

Lo tried toe control the quantity versus & full gliasa to a
a quarter of a glage. 11:45:24
21 ag. Soa that’s how you dealt with the "hyped up" is
22 jusk give them a little bit less than the first time?
za A. At that point, until we could get rid of it,
24 yes.
25 0. When you say “until we sould get rid of it," 11 45333

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what do you mean?

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2 A, It was just, I

a Q@. Until you finished drinking it all?

4 A. WUnril we Einiehed drinking it, correet.

Fy O. And is the reason you poured two ef the 11:45:45
6 containers down the drain because you decided ta file

7 this lawsuit?

a MR. GORE: Objection. Argumentative. Assumes

9 facts mot in evidence. Asked and answered.

10 You may answer. 11;46;08
Li TRE WITNESS: res,

Lz BY MR. CIRELLI:

13 QO, When you were describing before the reason

14 chat you first bought the Blue Diamond Almond Breeze

15 Almondmilk, you said that the fact that it was all 11:47:33
LG natural was & substantial reasen that you bought it. Dea

1? you remember that?

16 Ay, Cerrect,

14 O, Ware there other reagons that you bought the

20) almondmilk other than the fact that it said "natural"? 11:47:42
21 A. Thst was -- again, I was locking for an

2e alternative for my kids and "all natural" was a

23 substantial reason why I purchased that in confidence,

24 a. I'm sorry, You g@aid ain -- "in confidence"?

25 Whal does thal mean? 11:48:03

Page %9

 

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ak A. With confidence.

2 QO. Okay. Again, you use Ehe -Lerm "substantial

i resson." Were there other reasons, other than the Label

4 "Natural," Ehat vou -- and wanting Eo £ind an

5 alternative treat for your Kids that you purchased the 11:46:14
6 Almond Breeze almondmilk in April of 2012?

7 A. No. I would say that's it.

a a, That's Le?

2 A&A. That'a it,

16 Q, and when you say you purchased if as an 11:48:27
13 alternative for the kids, I'm still trying to understand

Te aS ean alternative to what. What was it that che

La almondmilk was gaing Eo replace in your kids’ diet?

14 MR. GORE: Objection. Asked and answered.

a5 You can answer it again. 11:48:59
16 THE WETHESS: Regular white dairy milk is what

a Iwas crying -- not completely, but as a treat versus

14 using a product that's well-known for its sugar content,

143 such as a Hershey's product.

au BY ME. CIRBELE: 11:49:08
21 Oo. Did you ever buy your kids chocolate milk

22 betore April af 2012?
2a A. Yeah.
Be Oo. How often?

25 A. Does Tomer ce aecald.. 11:49:20

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1 were Ehe factors in choosing Eo stap buying chocolate

2 milk as of May 20127

3 BA. The facet that L just doen't want my children to

4 think that it's nermal Eo drink that on a4 reqular basis.

5 $0 when I give them one single-serving throughout a week Pa eee aee Le
6 for something fun, it holds different bearing than

7 having it stered in the refrigerator, I believe, as a

5 parent.

q Q. Eow often did you buy if and shore it in the
it refrigerator at home prior to May of 2012, and by "it," LL S227
11 I meant chocolate milk?

13 BR. I cannet recall. It wasn't -- it's easier than

13 not, almost. I can't recall, I don't know.

14 QO. How wee itt that vou became involved in thia

15 lawsuit? 1162352
16 KR. I Was seeking more information on the product,

17 QO. Where were you seeking more information an the

18 preduct?
13 A. CGontecting Pierce.

as

26 G. Well, how did you -- how did you learn of 11:53:04
21 PLeTCe?
22 A, Sharon Prath's actually a friend in the
23 cammunity I Live in and showe up at qatheringe every
24 once in awhile, snd she overheard our cenverzation with

25 ocher moms. We were sorta discussing the fact that some LEPaa? 25

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10

Ld.

12

16

i?

Lf

13

2)

al

ad

a3

24

a5

kids have dietary reetrictions and some do not, but they
also tried this produce and hed reactions similar ta
mane where the kids were on 4 sugar high, and we were
aorck of discussing thet, And Sharen basically told me
if t wanted to learn more, that Pierce might be a good
Person ta discuss it with.

Oo. And how do you know Sharon?

A. She's a friend,

Oo. A friend through schoal, throvwgh church?

A. Fram our community, she's at cammunity
gatherings avery ance in awhile.

Oo. Bnd when was ik that this conversation was
taking place where Sharon first Lold you yeu may want Eo
call Pierce?

AR. The bLime period?

Gi SES

Ae 2 tan recat .

Ge: In relation to when you first met him, which I
believe you told us earlier was May 2lat, #2012, using
that as a time frame, do you recall hew lang hefare that
it was that vou had the conversation with Sharon that
ashe told you you may wank ta call Piercet

A. It probably wasn't too far back from -Ehe time
that we discussed it because I remember still having -Ehe

packages in -- in my pantry. So it was -- it was

PLS.

21754-06

A1154:524

Ll:84:41

ia

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i probably a week’s -- within a week's time, maybe, from
2 the time from there, I remember calling.
a QO. When you say "a week's time," you're saying
4 it wae probably a week before May 21st, 2012, ar in that
5 time frame, that you talked to Sharon and she suggested Papel:
6 you talk to Pierce?
7 A. Yeah, I would eay it's ++ I had contacted
a Pierce probably a week from the time I -- thar Sharen
4 had mentioned that he would be a geod person to discuss
10 this with. LLsSS 58
11 | Oo. Did you have any phone calls or any other
12! communication with Pierce or anybody in hia office
13 | before yaur weeting in May, on May 21st, 20127
14 | A. Wo. In all honesty, Sharon, I didn't even know
15 that she was a lawyer, I didn't. Yeah, just a £riend, 11:55:53
16 but we didn't ... Noe one discusses too much business up
Li there, it's more just friendship.
18 OG. Where does sharon practice?
LS A, In San Jose.
a0 o Does she practice with Mr. Gore? Pts S6sL2
21 A. They're associates.
a2 Oo. When you say "they're s8saciates," what do you
a3 understand Ehat toa mean?
24 A. Parenere.
25 Oo, 80 going back te my question, did you -- other 11:56:21
Page $5

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1 @. And you gaye Mr. Gore a call, and your hese

2 memory ia that the first time you placed a call to

4 Miz. Gore was about a week before your meeting on

4 May Z2lskt, 2012; 18 that correck?

4 A. ['tm recalling, yeah, because it wasn't -- 1ii5a:47
6 wagn'h like an injury case or anything like that, it was

7 fust something I was curious about. Yes, I'd aay a

B week.

g Oo. And nobody in your family was injured from
10 drinking the Almond Breeze almondmilk; correct? 15a
Li A, No.
12 O. That is correct?
13 Ay “Theb"s ---ENSETH Ghrrect,

14 QO. That wags a bad question.

ES And in relation to when you placed that phone 11:59:08
16 call about a week before, how long before that was it

1? that Ms, Pratt had sugqgested to you Ehat you may want to

Ls call Mr. Gere? How long did you wait to call him?

Lg A. I'd sey from the time of our cenversation with
20 Mra. Pratt, it was a week, a week Erom that time period, se Sele eel
a7 and that's -- I'm just recalling I know if wasn't super

a2 Fast but it wasn't like months.

23 Q. And where was chis community meeting with the

24 moms where you had this conversation with Ms, Prate

25 abou Mr. Gore? Li $9258

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1 {The deposition of CHRISTOPHER WERDEBAUGH
2 Was reconvened at 21:23 p.m.)
3 THE VIDEGGRAPHER: This if the beginning of
a disk number -Ewo in Ehe deposition of Chris Werdebaugh.
S We're on the record at 1:23 p.m. 23;24506
6
a CHRISTOPHER WERDEBAUGH,
B having been préviously duly sworn, testified further as
2 follows:
10 EXAMINATION ( CONTINUED}
el BY MR. CIRELLI:
12 O. I asked you this question with veapect ta
13 evaporated cane juice, E'm going to ask you the same
14 question with regpeck to potassium citrate. Since you
15 filed this lawsuit in May 2022, have you paid any 13:24:25
16 particular attention te the ingredients in products you
Le buy to se@6@ if they cantain potassium citrate?
Ls A. I notice it's in certain products, yea.
149 QO. and doa you have in wind what products yau know
20 Li's in? 13:24:42
al Ay Ho, Lote net.
az Q. Have you bought those products, products with
os potassium citrate, sance May 20127
24 A, Most likely, yes.
a5 Q. Soa it's not a situation where, like evaporated Looe eae
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Cane juice as well, if you saw elther evaporated cane
juice in a product or potassium citrate in a preducht as
an ingredient, that wouldn't automatically cause you not
to buy Tne product?
A. No, I've never stopped purchasing products with LaBare
evaporated cane juice in it. It's just now that I know
that it's actual table sugar, 7 know how to regulate it.
Q. And you also have never stopped buying products
that contain potassium citrake; correct?
A. Correct. LE rea nee
Oo. &8o it wasn'E the -- it's nothing about the Blue
Dianend Almond Breese praduct or ite ingredients that
you find to be improper, it's solely the label chak you
have an issue with; is that fair?
MR. GORE: Obiection only to the extent it V3 259479
Mischaracterizes prior testimony. Asked and answered.
You Can answer.
THE WITNESS; The label wes definitely
misleading in stating it's an all natural product, aq

yes, the label ig the main concern. 13:26:02

 

co
in

BY MR. CIRELLI:
GQ. Obviously since you beught products since
May of 2012, when you Eiled this leawsurt, that have
comuteained evaporated cané Juice and potassium citrate,
LE was not the fact Ehet those ingredisnts were in the bo e26be 4
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1 BY WR. CIRELLI+

2 @. And when you say "the all nahural state,"

5 you're Lalking about the labeling; right?

4 A. “The labeling, @#xactly.

5 QO. If the Blue Biameand Almond Breeze -Ehat you PTET
6 bought did not have the label "natural" on it, would you

7 have bought it anyway as an alternative ta Jjusk nermal

6 white milk, as you said earlier?

ot ME. GORE; @Gbhjeckion, Incamplete hypothetical.
16 Calls for speculation. Assumes facts not in evidence. fa ee sk
il You tay anawex .
12 THE WITNESS: FProhably not. Actually, I

LS wae -- actually, it was more of an invitation because of

14 the all natural preduct and also having chocolate in the

LS product that made Le inko my grocery cart. 13:27:49
16 BY MR. CIRELLI:

LF a. Hid yau laok ab any other alternative products

18 ho milk when you went shopping and baught the Blue

19 Diamand Almond Breeze as a product to buy?
20 A. Wa, da3283 06
21 O. Bid you look at any other almendmilks at the
22 Lime?
24 A. Me,
FA oO. Did you look at whether there was a lésa
a5 expensive alternative to the Blue Diamond Almond Breeze Teele

Page $4

 

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= x
1 when you were looking at buying something for your kids?

2 A. We.

3 o,. Was price then an isaue when you bought the

4 Almond Breeze?

5 A. At that time, no. I mean, it -- it's a factor, Ese eee
5 bet LE wasn't @t the time. It's a factor that this one

7 shaws me it’s all matural.

a Oo. What da you mean by that?

a A. Iwould -- if © would have looked at other

1a proeducts, I would -- I wouldn't have no problem paying Pate was
11 more for it just knowing that it's all natural versua

Le asamething elae.

sea QO. Would you pay more for it because it's a name

14 brand, Blue Diamond, aa oppesed to a store brand?

iS A. I wouldn't -- I wouldn't know, actually. That 13:257353
1é probably makes no difference.

1? 0. Do you have a preference when you go shopping,

18 name brands versus, you knew, stere brands?

13 A. Wo, IT -- net typically, no.

pee eS =

20 QO. I think you told me earlier that you bought La22951L0
21 this particular Almond Breeze at Whole Foods; right?
22 A. Correct.

a O. And you know that at Whele Foods, I think you
a4 said you pay a premium when you go there?
25 A. Yeah. be e2o oe

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o, I'm assuming at least at Chat end, price wasn't
4n issue because you're going to a place where you pay a
premium; fair?

A. That's fair.

Q. Have you ever bought any ather product solely 13:29%456
because it had "natural" on the Label?

A. IL would most likely purxychase a product that

 

 

a gaya "all, natural." To specify another brand, I

a equildn't -- EF couldn't mention one that would recall.

14 GQ. That was going to be my next question. Pate ES

11 remember at any POLNE im time, ever in your shopping

12 hiatory, another product that you bought because it said

13 "all natural" on the label?

14 A. Not offhand, no.

15 Q. And I think you told me earlier that you ba ese eS

16 prokably bought products since May of 2012 Ehat contain

Li Potassium citrate. Can you think of any specific

18 Preducts where you saw Ehat an the label ang you went

1 ahead and pought it?

2u) A, Wone specifically, no. 13:40:59

24 Q. When did it first occur to you that there was

22 something improper about the Blue Diamend Almond Breeze

23 checolate milk label?

24 ME. GORE; Objection, Asked and answered.

25 I'll object ta the extent that it calle for information La231220
Page Lol

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1 A.
ses

2 O. = think we already talked about the fact that

3 you no longer have the receipe for the first time you

4 bought Blue Diamond Almond Breeze in April of 2012;

5 correct? boat EL
6 A.

7 QO. Can you think of any way to determine exactly

a when you houghk that Almond Breeze?

9 A. I honestly can't. I doen't recail when I

1a Purchased it. oo ge
Ta a. Doe you remember if yau houghk it with 4 credit

Le card or cash?

13 A, I definitely do not.

14 QO. When you -- when you normally go deo sahepping,

15 do you normally pay with cash or a eredit card? 13:39:34
16 A, It's by beth.
17 oO. One more than the other?
14 A. Probably credit card over cash, but
14 it's -- it’s honestly a good mix.
Zt @. I think you told us -Ehat particular Breeze you 13-3950
21 bought at the Whole Foods store; right?
Ea BR. The first one,
23 OQ. And deea Whale Foods have any kind of a rewards

nA program?

25 A. Bone that neat that I know. Lar4d0200

Page lO?

 

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1 get a free banana when we come in, that's abouk ik.
2 0. Soa 1£ they do have a rewards program, you Just
3 don't know abouck it.
d A. L do net know about it.
5 O. ts the free banana the incentive for shopping Uesd0e15
6 at Whole Foods, even though you're playing a premium?
i A. Wot at all, no.
a 0. See, fortunately there'a a tape so they can
g hear the levity in both our volces. On a piece of
16 paper, it would look like that was a serious question 13:40:27
11 that I was asking.
12 Going back to Exhibit 1, the page CW 3, the
La Lunardi's receipt again, looking art that, looking at the
i4 face of thia receipt, is there any way for you ta tell
15 who it waa that did the shopping that's reflected on 13:41:10
16 this receipt?
ey A. We,
Le o. It shows that the receipt was at 9:45, da you
19g See that, next to the date, November 21st, #0137
20 A. Yes. 13:47:30
a Oo. And at the tap, it tells us that Lunardi's is
22 open fram 7:30 alm. fa nine o'clock p.w.; right?
23 A. Correct,
24 Oo. Soa looking at that 9:45 time, assuming it's
25 a.m., who ils more likely to be shopping at 9:45 a .m., 13;41:41
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i Sa you can't think of any specific ingredients

thak if at's in Ehe product, you're just net going ta

 

buy LE?
By No,
Q. And when you said the way -hat it's farmed is Tae Os eS

something that you take into aceount when you're buying
products, I'm assuming that'a when it is fruits or
vegetables that we're talking about?
A. Gr eggs, tree-range, how the cattle -- I mean,
usually Whole Foods is a good place, Lunardi's, you know Mabe Ol AcE
You're getting quality meets and vegetables, orgenic,
ift's quite apparent wher you're in their food section,
GO. Do you ever buy meat and vegetables and eggs
that aren't organic?
A. On, yeah, it happens, yes. 14:01:57
O. Ta anybody in your household
lactose-intolerant?
A. to .
QO. We already talked about whether Che hrand name
factors inte what you buy; right? Itees if? 14202211
A. Wot really, no.
QO. foe the calories or the amount of fat in the
proeduet Eacter inte your decisions?
A. Sometimes.
Q. When you say "sometimes," when does itr L4:02:34
rage 124

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1 if I give that Eo my kids, it is what it aaye it is.
a BY MR. CIRELLI:
a
3 G@. And I think I asked you this earlier, but since
4 you just brought this up again let me ask you again.
2 fan you think of any other product you've ever bought 14:05:13
8 because it had "all natural" on the label or "natural"
¥ on the label?
& MR. GORE: Objection. You did ask that
a earlier.
10 You may answer. V4:05221
11 THE WITNESS: LI can't recall a specific
12 product.
See
1A BY MER. CIREHLI:
14 GQ. S8inee the filing of this lawsuit, have you paid
Es more attention to labels than you did before or about 1405: 39
Lis the same?
17 A. It's the same,
14 @. Ho you look at the label and the ingredients
13 for every product you buy?
20 A. Ne. j.-I don't have time te doe that. 14:06:91
el GO. What do you -- what are the factors in your
22 deciding whether you're going to actually look at the
23 label in detail before you buy a product?
24 A. Again, it's based on the products I know that
25 I would feed my children on a reqular basia versus a 14:06:13
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8

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14

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21

22

Za

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25

Haye you ever seen the
on a product?
A. Ho.
O. Have you ever aeen the
S¥rup" on a produck?

&. Wot that I can recall.

Go. Do you know as you ait here today what dry cane

syrup is?

A. Wa.

Oo. Da you Know as you 84t
evaporated cane sayrup is?

A. We.

phrase "dry cane syrup"

phrase "evaporated cane

here today what

oO. Tf you saw either af Ehose phrases on a

package,

would it cause you any pause with respect toa buying the

product?

dried cane syrup or evaporated cane syrup,

A. I now know Ehak evaporated cane is basically

table sugar sa I would probably buy with caution and

know how ta regulate it with my Kida.

me from purchaging if but I do know that it is probably

sugar .

It tay nok stop

QO. jAnd what is it -hat causes you to say that

"it's probably sugar"?

A. It sounds a lok like evaporated cane juice,

just with ayrup.

 

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14:08:57

14:09:04

14:09:26

14:09:40

14209755

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L (Phone interruption.)

ze MRE, GORE; Bo you need to take 4 break?

2 THE WITNESS: No, That's my alarm ta pick my

4 son up at school.

5 MR. CIRELLE: But you're nec doing that today? 14:10:34
6 THE WITHESS: No, exactly. My wife's doing tk.

7 Buby still calls.

a MR. CERELLI: Why don'h we go ahead -- I think

a I pulled this out to mark about three hours ago and yau

Lo somehow got me distracted and I went off on other 24:16:45
Lik copies.

12 (Deposition Bxhibit 3 waa marked

13 Ear identification, ]

14 BY MR. CIRELLI:

15 QO. Can you take a look, Mr. Werdebaiugh, ec what 14:11:41
16 has been marked as Exhibit 3, which is the Complaint For
17 Damages, Equitable and Injunestive Relief, with a file
18 date skamp at the top of May 29, 2012?
i? AL, Yea.
20) QO. Have you ever séen thie dacument before? 14:31:57
21 A. I den't think sa.
oo Q. I will represent te you that that is the
23 original Gdoacument that was filed with the court thak

a4 began this lawsuit. &8oe with that @xplanation, does that

25 véfresh your memary as to whether you've ever seen Ehis 1 Ee ES

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1 before?

2 A. I Kinda +-- I don't recall seeing it.

3 Oo. Eo you remember ever seeing anything that lookae

4 like this, that has numbers down the side of the margin?

4 A. Wo. Wo, I don't. I don't think L've ever seen 14:12:36
6 thia.

9 OO, j<At the time that you bought the Blue Diamond

8 Almond Breeze product in April of 20123, if the package

4a had shown as an ingredient either dry cane syrup or

1g evaporated cane syrup, would that have impacted your P4ebe255
bd purchasing decision in any way?

LZ MR. GORE: QGbjection. Calls for apeculation.

13 Assumes facts not in evidence.

14 You can answer, if you can.

15 THE WITNESS: Act the time, I wouldn't have 14714:05
16 known what that was, the same as I didn't know what

1y evaporated cane juice was.

14 BY MR, CIRELLI :

Eg Q. So it wouldn't have affected your purchasing

20 decision; correct? l4:.4:18
el A. Wo, at the time, no. I was looking at the

ae "all natural,"
ea Q. het me =-+ [ think IT already Enow the anawer but
Ba let me just show you another document that's very

25 similar and ask you if you've ever geen this before. 14;14;41

Fagqe 130

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1 Let's mark this next in order.

2 {Depasition Exhibit 4 was mazked

3 for identification, )

4 BY MR. CLRELLI:

5 O. Sir, could you take a look, Mr. Werdebaugh, at 241-5318
6 what has been marked aa Exhibit 4 which, for the record,

7 ie Class Action and Representative Action, First Amended

& Complaint For Damages, Equitable and Injunctive Relief,

4g and it shows a file date cf May 24th, 2013 at the top.

Lo I ask you if you've ever deen this dacument before? 1 ES aoe
La A. Wo, I've never aeen this.

ee

12 QO. Okay. That was quick,

13 De you buy yogurt for your family to consume?

14 AY Yes.

15 0. And have you been buying yoqurt over the last, 14:16:52
16 Say, &ix years for your family?

LY A. Yeah,

18 a. Is there a particular brand of yogurt that you

ES buy for your family?

20 A. I think it's called Straus. L4:17:06
21 Oo. Is that whe the manufacturer is?
22 A. That's the brand, I believe.
23 QO. Where do you buy that?

a4 A. Wherever I can find it, actually, Whole Foods,

2S Summit Store actually carries it, and I'm pretty sure Lash a?

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1 A. Probably, yes.
2 oO. How about the French vanilla nonfat?
a A. I'm not aware of that one.
4 QO, How often doe you buy the Trader Joe's
5 Greek-style vanilla yoaurt? 14:21:31
6 A. Maybe two weeks, every -Ewo weeks, maybe.
7 OQ. How much every two weeks?
a A. A pint, I think.
g o. And how longa have you been doing that, how many
Lo Years? 14:22:51
11 A. Quet recently, I'd say the last six monthe.
gr cr
12 OQ. Did you ever look at the Trader Joe's
£3 Greek-atylée vanilla yogurt label to see what's in it? |
14 A. Wo. I use it more for recipes, Indian cooking
15 and things like that. 14:22:19
16 Oo. Have you ever looked to see if there's
i? evaporated cane juice in it?
16 A. No, I have not.
i rnin ———
14 QO. Would it surprise you if I told you there was?
2u A. Probably -- probably not. A eee
a: OQ, And that wouldn't affect your continuing ta buy
22 it; right?
23 A. Well, I know what it is now, so yes, I
4 2. It would not affect?
#5 Pi, Well, it would -- it would affecr it tin the La 2s
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sense that I'm just net gonna just hand a giant bowl of

 

 

2 it over to my children, Like I aay, I use a lob of it
4 —or cooking eo it's just an added ingredient moat of the
4 time, but I do give in to my children, two or three
5 tablespoons, as a treat. 14:22:48
6 Q. Right. Bo you ever give your children |
7 chocolate? |
B A. Rarely, But yee.
a QO. And I'm assuming when you give ‘em chocolate, |
Lu you also regulate how much of that you give them? 14:22795
|
Ll A. Absolutely.
Le 2. Bo you ever by Trader Joe's organic chocolate
13 acy milk?
14 A. I'm sorry, what was the --
15 Oo. Trader Joe's arganic choacealate soy milk? 14:23:12
16 AL Na.
17 QO. I think you told me before you've never bought
18 soy milk.
13 A, Yeah, no.
= = a eee
2g QO. Okay. What abouk Horizon Organic milk; do you LAs Sae Tt
21 ever buy any of those?
22 BR. Like dairy milk, white dairy milk?
43 Q. Any Horizon milk.
a4 A. I doen't -- I leek for whele milk and é¢ach store
2% geems toa have a different brand, so as far as whits 14723534
Bagge 126
a

 

 

 

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dairy milk i8 cencerned, I don't really pay attentian fa

the actual manufacturer but I go for the whole wilk.

0. Okay. Have you ever bought Horizon organic
chocolate or vanilla milk?

A. Wot that I -- yes, I have, actually. I think
that's the actual one that I was talking about sarlier
with the cow aon the front of it, the small, individual
packages, I think I have purchased that in the past.

QO. And that's the one that you -- you were

describing before and that's the checolate that you buy?

A. Yes. If the kids qo to the store, sometimes
when they're good, we'll allow ‘em ta actually take an
individual cardboard box of the actual -- that's the
actual brand, Horizon chocolate milk, and they can
actually punch a straw in if and have their individual
serving.

O. And is it the organic one that you buy?

A. It i8, it Baya "organic" on it.

Oo, When was the last time you bought that for the
kids?

A. I would say probably a month age, after a

haseball practice with my son, if was definitely a manth

ago.
Oo. When was the firat time you bought that,

Horizen arqanic checoelate milk, For the tnree kids?

14:23:47

l4:24:04

14:24:22

l4:24:34

14:24:56

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i A. Three or Tour years ago, probably, somewhere in
a that range.
= @. Have you ever looked on the label at the
‘4 ingredients of that milk?
5 A, <L'm assuming it has a Sugar type in it so 14:45:14
6 Prob »- | never looked at the label on that, no.
7 QO. Do you know whether that milk coanteins
a evaporated cane juice?
4 A. I do not.
Lo O. Is it fair to say you're noc concerned whether 14:25:27
11 it contains evaporated cane juice or net; you're srtill
12 buying it for your kids?
13 A. Well, at's fair, and it's only because I know
14 that Lt i8 sugar and EF don't give it to ‘em reqularly,
is Q. Do you ever buy Horizon Orqganic DHA Omega-2 24:25:46
16 lowfat chocalatse milk?
17 A. I have no clue what that is. 1 don't look at
18 it that closely.
19 OQ. Have you ever bought any Silk products?
20 A. Silk? Neo. I don't even know what -Ehet is, not 14:26:04
ed, that I -- I don't know even know what that is,
we Oo. ZF I teld you ib's 8 brand. --
23 A, Oh,
2d oO. of milk alternatives, like almondmilk and
ES soy milk? 14:26:19
Page laé

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1 on the far left side, the country stare in Half Moon

2 Bay receipt, it shows a coconut juice there. Does Ehat

rs refresh your mammary? We were jusk talking before we

4 took the break ahout the type of cocenut juice you buy

5 and you couldn't remember. Does seeing that refresh 14:53:30
6 your memory of what Eype of coconut juice you buy?

a A. No, it deee not, actually.

8 g. Prior: to meeting with Mr. Gore, did you have

o any understanding that the Blue Diamond Almond Breeze
16 Product, the labels in any way violated federal or 14:53:46
ate California laws?

die Au. No.

13 O. Have you ever visited the Blue Diamond wehaite?

14 A. BO

15 QO. Have you ever looked to see if there was a 14:54:00
16 product that is an alternative to the Blue Diamond

17 Almond Breeze that's cheaper than the Blue Diamond

is Almond Breeze?

Ly MR. GORE; Gb eetion. Vague. Iscemplete

ai hypothetical. 14:54:42
a's You can answer, Lf you can.
ao THE WITNESS: I actually did not search for
23 one. I felt confident in the one that Stated it was all
24 natural, so I didn't mind actually paying a Little more
25 if I had to. The "all natural" is comforting. 24:54:55

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20

#1

a2

BY MR. CIRELLI;
Oo. Do you know as you sit here today whether you
did in fact pay more than if the product was not all
natural?
MR. GORE: Objection. Calls for speculation
and an expert opinion.
You may answer, if you can,
THE WITNESS: I don't recall.
BY MR. CLRELLI:
a. And you never undertook any effert ta figure
that aut; right?
A. Correct.
Q. It was not a Eactor when you bought the
product?
MR. GORE: Objection. WMisstates prior
Leatimony.
You can anawer.
THE WITNESS: It's not toeo much of a factor
when I see "all natural" on the front of a package.

it was pretty quick, actually, a quick decision for me

ao I -- yeah.

paying a lithle more as long aa i know it's a -- it's a

decent product .

BY ME. CIRELLI:

@. And now you've used a new term, "decent

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But ether preducts, I can féel goad about

14:55:05

1475S eo13

14:55:24

14:55:37

14355 :57

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oo

a — = Fe

praductk.,” sa what's the definition of a "decent
proaduct™?
A. One that I feel comfortable as far as if it is
natural, organic.
GQ. Anything else? 14:56:19
A Noa.
QO. But you did tell us you do buy products and
food ‘om fo your kide that are not organic and not
natural; right?
A. Yes. 14:56:21
Q. Have you -- other than the Blue Diamond Almond
Breese, have you ever bought any other Blue Diamond
producks?
A. Wet that I recall. JI «= 7 doen't recall at all.
Il way have bought a packet of almonds on a camping trip 14:56:35
or something like that, but I've never sought it for the
Brand name or anything so I wouldn't know.
O. I may have asked you this, I apologize if I
did, but when you bought the Blue Diamond Almond Breeze
product in April of 2012, do you remember if you used 14257-2095
any coupon to buy it?
A. I can't recall.
0. Do you remember if it was on sale?
A. I ean't récall.
Oo. And you can't recall how much you paid for it 14:57:21

Face 1434

 

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1 specifically? = think you told us earlier your besk
2 tenory Ls somewhere between three and four dollars,
2 A. And that's just a quess, yes.
ee
4 QO. Okay. Earlier in the deposition I asked you
5 for your definition of what "natural" means to you. Do 14:57:55

10

Tah

la

24

25

you remember that?
AL Yea.
Oo. Do you know if the FDA has a definition of
"“naturall’?
A. Iodonot know what their definition of 14:58:03
"natural™ is.
Gg. Do you know if they even have one?
A. I doen't. EF den't research that.
GO. Da you know what the FOUA is when I say "FDA"?
A, Yes, 14:58:44
Q. Food and Drug Administrations

ye

Mr

fr

QO. Do you know if there's any legal definition of
"natural"?
Fi. I wouldn't -- EF wouldn't know. As a cansumer, $4:58:19
I just felt comfortable to be able to read that and feel
good about my purchase.
G. Are you familiar with the atatutes aa to what
can be included in a product and still call it arganic?

A. Wo. 14:56:45

Bage 1414

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1 it ar net, ar at a friend's house?

a tee E wouldn't know, no.

z) QO. Have you ever told your kids "Don't ever drink

4 Blue Diamond Almond Breeze"?

5 A. I don't think so. I don't think LI forbid chen, 15:01:33
& no.

7 QO. Soa other than che shart phone calls and the

a eouple of meetings -Ehat you've had with Mr. Gore and on

g Tussdey with Mr. Lovelace, and cther than reviewing the

10 deposition trangeript in the Brazil versus Dole case 15:02511
1: that you told me about, since this lawauit was filed in

1 May cf 2012, have you done anything @lse in relation Eo

13 this laweuit?

14 fu No.

15 O. Have you reviewed any documents other than the 15:02:28
16 depa transcript that you told me about earlier tadsy?

Ly A. No,

1a QO. How much time have you spent on this Lawsuit,

19 focusing on it, phone calls, reviewing documents?

20 A. Several hours, maybe . Lo: Oe ad
ai G. You say "several hours." How many hours are

22 you talking about?

23 AL, Collectively, maybe -- mayne ten.
24 . And that's since May of 2OlLE?
a A Yeah. 1S 02256

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1 QO, Go you have an understanding of what a class

2 action ia?

3 A. Vague, vague.

‘4 2 What's your understanding of what & class

5 | action is? 15:03:11
6 A. That -- I doen't -- actually, I dontt. Itd feel

7? stupid ta try and even explain it sa

8 Oo. Do you have an understanding of what your role

5 ia in this case against Blue Diamond?

Lo A. That I might be representing a large class of as DES S6
11 people that feels they've been lied to on a product like
12 this and their labeling.

13 @. Anything else?

14 | A. Wo. I just think that's what my role ia.

ne ————

15 ME. CIRELLI: At the break, I told Mr. Gore L5103343
16 that I wae going te try to focus on the questions that I

1? Feel I need to ask before we have a motion that's come

18 up, so I chink I've now done that. I don't think I'm

|

18 | anywhere near wy seven hours, Ao at this point I'd like

20 | to stop and reserve whatever time I have left for the 1s:04a: 58
Zl future, in tase I need it, Buk that may never oceccur.

22 THR WITNESS: Okay -

22 ME. GORE: Can we bake just a five-, ten

24 minutes! tops break? I have just a few questions and I

25 know T'll be done by 3:20, 3:25. Would that work for Los04+15

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DEPOSITION REPORTER'S CERTIFICATION

I, the undersigned, a California Certified
Shorthand Reporter, do hereby certify:

That the foregoing proceedings were taken
before me at the time and place herein set forth, at
which time the witness was administered the oath; that
the testimony of the witness and all objections made by
counsel at the time of the proceedings were recorded
stenographically by me, and were thereafter transcribed
under my direction; that the foregoing transcript
contains a full, true, and accurate recerd of all
proceedings.

I further certify that I am neither financially
interested in the action nor a relative or employee of
any attorney or party to this action.

IN WITNESS WHEREOF, J have this date subscribed

my name, Gated this 10th day of February, 2014.

THOMAS J. FRASIK, CSR No. 6961

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